                 Case 01-01139-AMC            Doc 929639         Filed 09/03/21        Page 1 of 3




                             IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE

    In re:                                      ) Chapter 11
                                               )
    W. R. GRACE & CO., et al.,1                ) Case No. 01-01139 (AMC)
                                               ) (Jointly Administered)
                     Reorganized Debtor.        )
                                               ) Related Document: 33256. 33257, 33259, 33260,
                                                  33261, & 33262
                                               )
    SUPPLEMENT TO THE REORGANIZED DEBTOR’S EMERGENCY MOTION FOR
     AN ORDER FINDING THAT RUNE KRAFT IS IN CONTEMPT OF THIS COURT
        BY HAVING WILLFULLY AND KNOWINGLY VIOLATED THIS COURT’S
     CONFIRMATION ORDER AND ITS ORDER OF AUGUST 26, 2021 [DOCKET NO.
    33256] BY FILING A MOTION FOR AN ARTICLE III COURT’S REVIEW OF THIS
                                COURT’S AUGUST 26 ORDER

             The Reorganized Debtor is filing this supplement to the Civil Contempt Motion to inform

the Court of Rune Kraft’s failure to comply with this Court’s Order, entered August 26, 2021

[Docket no. 33256] (the “August 26 Order”) by failing to timely file a pleading in the Arizona

District Court seeking dismissal of the Reorganized Debtor with prejudice from the Arizona-

Chevron Litigation.2 Exhibit A is an extract of the docket in the Arizona-Chevron Litigation for

the period of August 15 – September 3, 2021. The docket shows no evidence that Mr. Kraft timely




1
      W. R. Grace & Co. (f/k/a Grace Specialty Chemicals, Inc., or “Grace”) is the sole remaining “Reorganized
      Debtor,” and Case No. 01-1139 is the sole remaining open chapter 11 case (the “Grace Chapter 11 Case”).
2
      On August 31, 2021, the Reorganized Debtor’s Emergency Motion for an Order Finding That Rune Kraft Is in
      Contempt of This Court by Having Willfully and Knowingly Violated This Court’s Confirmation Order and Its
      Order of August 26, 2021 [Docket No. 33256] By Filing a Motion for an Article III Court’s Review of This
      Court’s August 26 Order was filed [Docket no. 33259] (the “Civil Contempt Motion”). Capitalized terms not
      defined in this “Supplement to the Civil Contempt Motion” shall have the meaning ascribed to them in the Civil
      Contempt Motion.
      The “Arizona-Chevron Litigation” pending in the United States District Court for the District of Arizona (the
      “Arizona District Court”) is captioned Kraft v. Chevron Corp. et al., Case No. 2:21-cv-00575-DJH (D. AZ).
      Docket numbers in that litigation are identified in this Motion as follows: [AZ Ct. DI **].
      Grace also filed notices of the Civil Contempt Motion and the Notice of Hearing on the Civil Contempt Motion
      [Docket no. 929638] on the Arizona-Chevron Litigation docket. See Exhibit A at D.I. 74 (Notice of Filing by
      W.R. Grace & Company of Documents Filed in Bankruptcy Action), and D.I. 76 (Corrected Notice of Filing by
      W.R. Grace & Company re: 74 Notice).
            Case 01-01139-AMC          Doc 929639       Filed 09/03/21     Page 2 of 3




filed any such dismissal pleading on or before September 2, 2021, as required by the August 26

Order (September 2, 2021, being 7 days after entry of the August 26 Order).

       The Reorganized Debtor also wishes to bring to the Court’s attention certain e-mail

correspondence from Mr. Kraft evincing his intent not to submit to the personal jurisdiction of this

Court and his further intent not to attend the hearing on the Civil Contempt Motion currently

scheduled for 10:00 am ET, September 8, 2021. See R. Kraft E-Mail Correspondence dated

August 31, 2021, a copy of which is attached hereto as Exhibit B; Second R. Kraft E-Mail

Correspondence dated August 31, 2021, a copy of which is attached hereto as Exhibit C; R. Kraft

E-Mail Correspondence dated September 1, 2021, a copy of which is attached hereto as Exhibit D

                                              NOTICE

       Notice of this Supplement to the Civil Contempt Motion has been given to: (i) the Office

of the United States Trustee; (ii) Counsel for the WRG Asbestos PI Trust; (iii) Counsel for the

Asbestos PI Future Claimants Representative; (iv) Counsel for the Asbestos PD Future Claimants

Representative; (v) Counsel for the WRG Asbestos PD Trust (7A); (vi) Counsel for the WRG

Asbestos PD Trust (7B); (vii) Counsel for the CDN ZAI PD Claims Fund; (viii) those parties that

requested service and notice of papers in accordance with Fed. R. Bankr. P. 2002; and (ix) Rune

Kraft. In light of the nature of the relief requested, the Reorganized Debtor submits that no further

notice is required.

                       [remainder of this page is intentionally left blank]




                                                  2
            Case 01-01139-AMC          Doc 929639      Filed 09/03/21     Page 3 of 3




       WHEREFORE, the Reorganized Debtor requests the Court enter an order substantially in the

form attached as Exhibit A to the Civil Contempt Motion: (i) finding that Mr. Kraft is in willful

and knowing contempt of this Court by reason having willfully and knowingly violated the

injunctive provisions of the August 26 Order and the Confirmation Order by filing the Arizona

Article III Motion in the Arizona District Court; (ii) further ordering Mr. Kraft to comply with the

provisions of the August 26 Order; and (iii) granting such other relief as may be appropriate.

 Dated: September 3, 2021                   THE LAW OFFICES OF ROGER HIGGINS, LLC
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                                            And

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                                            /s/ James E. O’Neill
                                            Laura Davis Jones (Bar No. 2436)
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